
PER CURIAM.
Arthur N. Wright’s post-conviction motion is timely under Wood v. State, 750 So.2d 592 (Fla.1999). Wood was decided May 27, 1999, and Wright filed his motion on March 28, 2001. However, we affirm denial of post-conviction relief on the authority of Major v. State, 790 So.2d 550 (Fla. 3d DCA 2001). See also Bismark v. State, 796 So.2d 584 (Fla. 2d DCA 2001); Baker v. State, 796 So.2d 589 (Fla. 2d DCA 2001); Rhodes v. State, 701 So.2d 388 (Fla. 3d DCA 1997).
Affirmed.
